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                           UNITED STATESDISTRICTCOURT
                           EASTERNDISTRICTOF LOUISIANA
                                ----------x
MYSHETTIAREID,
anindividual,                                     CASENO.:

              Plaintiff,
                                                  Judge:
VS.


SUMMIT CLAIBORNE,LLC                              Magistrate:
a LouisianaLimited Liability Compffiy,

              Defendant.


                                         COMPLAINT

       Plaintiff, MYSHETTIA REID, by andthroughher undersignedcounsel,herebyfiles this

Complaintand suesSUMMIT CLAIBORNE, LLC, a LouisianaLimited Liability Company,for

declaratoryand injunctive relief, attorneys'fees, and costs pursuantto the Americanswith

           Act, 42 U.S.C.$ 12181et s€Q.,andalleges:
Disabilities

                             JURISDICTION AND PARTIES

l.     This is an actionfor declaratoryandinjunctiverelief pursuantto Title III of the Americans

       With DisabilitiesAct, 42U.S.C.S l2l8t etseq.(hereinafter
                                                             referredto asthe"ADA"). This

       Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C.SSt33l and 1343.

2.     Venueis properin this Courtpursuant
                                         to 28 U.S.C.$1391(b).

3.     Plaintiff,MYSHETTIA REID, (hereinafter
                                            referredto as"MS. REID" oT"PLAINTIFF"),is

       a residentof OrleansParish.Louisiana.
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4.     MS. REID is a qualifiedindividualwith a disabilityundertheADA. MS. REID is a stroke

       victim.

5.     Dueto herdisability,PLAINTIFFis substantially
                                                   impairedin severalmajorlife activitiesand

       requires a wheelchair for mobility.

6.     Upon information and belief, Defendant SUMMIT CLAIBORNE, LLC is a Louisiana

       Limited Liability Company currently registeredto do business in the State of Louisiana

       (hereinafterreferred to as "DEFENDANT"). DEFENDANT is the owner, lessee,lessor

       and/or operator of the real properties and improvementswhich is the subject of this action,

       to wit: Family Dollar, generallylocatedat3l57 St. ClaudeAvenue,New Orleans,LA70ll7 .

       The DEFENDANT is obligated to comply with the ADA.

7.     All events giving rise to this lawsuit occurred in the EasternDistrict of Louisiana, Orleans

       Parish,Louisiana.


                     couNT I - VIOLATTON OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

8.                                          I - 7 asif theywereexpresslyrestatedherein.
       PLAINTIFFreallegesandreaversParagraphs

9.                                                subjectto the ADA, generallytrocated
       ThePropertyis a placeof public accommodation,                                 at:

        3157St.ClaudeAvenue,New Orleans,
                                       LA70ll7.

10.     MS. REID hasvisitedthe Propertynumeroustimesandplansto visit the Propertyagainin

       the nearfuture.

I l.                                          seriousdifficulty accessingthe goodsand
       During thesevisits, MS. REID experienced

                                                                            in paragraph14of
       utilizing the servicesthereindueto thearchitesturalbarriersasdiscussed
                                               2
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      this Complaint.

12.   MS. REID continuesto desireto visit the Property,but continuesto experienceserious

                                           in Paragraph14which still exist.
      difficulty dueto the barriersdiscussed

13.   MS. REID intendsto and will visit the Propertyto utilize the goodsand servicesin the

      future,but fearsthat shewill encounterthe samebariers to accesswhich arethe subjectsof

      this action.

14.   DEFENDANI'is in violationof 42U.S.C.$ 12181etseq.and28C.F.R.$ 36.302etseq.and

       is discriminatingagainstPLAINTIFF dueto, but not limited to the following violations

                                                         which hinderedher access:
      which PLAIN'IIFF personallyobservedand/orencountered

             A.      There is no compliant accessaisle from the streetto the facility;

             B.      There are ramps at the facility that do not have level landings and/or contain

                     excessiveslopes;and

              C.     There is no compliant disabledrestroomsignage.

15.    Furthermore,DEFENDANT continuesto discriminateagainstPLAINTIFF, and others

                                                     modificationsin policies,practicesor
       similarly situated,by failing to makereasonable

       procedures,when such modificationsare necessaryto provide PLAINTIFF an equal

       opportunityto participatein, or benefit from, the goods,services,facilities,privileges,

                                whichDEFENDANToffersto the generalpublic;andby
                andaccommodations
       advantages,

                                                to ensurethatno individualwith a disability
       failingto takesucheffortsthatmaybenecessary

       is excluded,denied services,segregated,or otherwise treated differently than other

                                     of auxiliaryaidsandservices.
                        of the absence
       individualsbecause

16.    To date,all barriersto accessandADA violationsstill existandhavenot beenremediedor
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      alteredin sucha way as to effectuatecompliancewith the provisionsof the ADA, even

      thoughremovalis readilyachievable.

17.   Removal of the discriminatorybarriers to accesslocated on the Property is readily

                                                          and would not placean undue
      achievable,reasonablyfeasible,and easilyaccomplished,

      burdenon DEFENDANT.

lg.   Removalof the barriersto accesslocatedon the Propertywould providePLAINTIFF an

      equalopportunityto participatein, or benefitfrom,thegoods,services,andaccommodations

      which DEFENDANT offersto the generalpublic.

20.   Independentof his intent to return as a patronto the Property,PLAINTIFF additionally

      intendsto returnasan ADA testerto determinewhetherthe bariers to accessstatedherein

      havebeenremedied.

21.   PLAINTIFF has been obligatedto retain the undersignedcounsel for the filing and

                                                                          attorneys'fees,
      prosecutionof this action. PLAINTIFF is entitledto havehis reasonable

                      paidby DEFENDANT,pursuantto 42 U.S.C.$ 12205.
      costs,andexpenses

       WHEREFORE,PLAINTIFF demandsjudgmentagainstDEFENDANT, andrequeststhe

following injunctiveanddeclaratoryrelief:

       A.     That this Court Declare that the Property ownedoleasedand/or operatedby

              DEFENDANT is in violationof the ADA:

       B.     Thatthis Court enteran OrderdirectingDEFENDANTto alterthe facilrtyto make

                          to anduseableby individualswith disabilitiesto thefull extentrequired
              it accessible

              by Title III of the ADA;

       C.     Thatthis CourtenteranOrderdirectingDEFENDANTto evaluateandneutralizeits


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                       andprocedures
      policies,practices,                      wittl disabilitiesfor areasonable
                                  towardspersons

                                          andcompletionof correctiveprocedures;
      amountof tirns,allowingimplenrentation

D.                               attomeys'fees,costs(includingexpertfees),and
      Thatthis Courtawardreasonable

                  of suit,to PLAINTIFF;and
      otkr expenses
                                                                      just and
      Thatthis Courtawardsrrehotherandfurtlrerrelief asit deemsneeessary,

      proper.

                                      Reryecffirlly Submitted,

                                      THE BIZER LAW FIRM
                                      Attorneysfor Plaintiff
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